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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


SYMBOLOGY INNOVATIONS LLC,

               Plaintiff,                                   C.A. No. 19-2262-RGA

       v.                                                   PATENT CASE

DENON ELECTRONICS (USA) LLC,                                JURY TRIAL DEMANDED

               Defendant.


       DENNON’S MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM

       Defendant Denon Electronics (USA) LLC. (“Denon”) respectfully moves this Court to

dismiss Plaintiff Symbology Innovations LLC’s Complaint, pursuant to Rule 12(b)(6) of the

Federal Rules of Civil Procedure, for failure to state a claim upon which relief can be granted.

       The grounds for this motion are further set forth in Denon’s Opening Brief in Support of

its Motion to Dismiss for Failure to State a Claim, which is being filed contemporaneously

herewith.
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Dated: February 3, 2020               Respectfully submitted,

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